                  UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                    NO. 23-3097

                        UNITED STATES OF AMERICA,
                                 Appellee,

                                          v.

                        ELMER STEWART RHODES, III,
                                Appellant.


                  MOTION FOR INTERIM PAYMENT AND
                     TO EXCEED CASE FEE LIMIT

      Counsel respectfully asks this Court to allow interim payment pursuant to the

Judicial conference policy that has been recently added to the Guide to Judicial

Policy. Also, due to the complexity and protracted nature of this appellate process,

counsel requests the Court exceed the case fee amount of $9700.

      Counsel was appointed to represent Mr. Rhodes on October 12, 2023, for his

appeal that has been consolidated with a number of other defendants associated with

the January 6, 2021, riot. Document #2021551. The trial transcript alone is 10,491

pages which counsel believes amounts to roughly 20 volumes, and that does not

include the trial exhibits which counsel has secured and reviewed.

      Given the possibility of a Presidential pardon and due to significant other

caseload issues, counsel requested and received an extension to file the opening brief


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until March 11, 2025. Counsel expects that due date to be modified based on co-

counsel, Stanley Woodward’s, pending motion to be relieved of counsel for Mr. Kelly

Meggs due to his taking a position with the White House. Counsel expects the Court

will need to appoint Mr. Meggs new counsel and this may further delay an opening

brief in the case.

       Counsel has conferred with Daniel Lenerz of the United States Attorney’s

Oﬃce, and he informed counsel and co-counsel on January 30, 2025, that his oﬃce

plans to continue prosecuting the appeals for the defendants whose sentences were

commuted but who were not pardoned.

       Counsel is cognizant of the need to contain costs associated with this case and

will diligently work to prevent any duplication of eﬀorts and otherwise reduce any

other redundancies that could increase costs.




                     [Request for relief and signature on next page]




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      Respectfully, counsel asks this Court to allow for the payment of her interim

invoice and to allow her to exceed the current fee limit based on the complexity and

protracted nature of this litigation.

                                             Respectfully submitted,

                                             /s/ Elizabeth Franklin-Best
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